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                                                                                  2014 Jun-10 PM 03:36
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION


SHENNETTA THEDFORD, BRIANNA                       )
                                                  )
KIND, DECORELAN TOMPKINS, a                       )
minor, by and through his parent,                 )
SHERRY TOMPKINS, ALEXANDERS                       )
                                                  )
DUBOSE, TALESHA WRENCH,                           )
SHANTERRICKA THEDFORD, a minor,                   )
by and through her parent, SHENNETTA              )
                                                  )
THEDFORD, KRIBBE PERRYMAN, and                    )
all other similarly situated individuals          )   CIVIL ACTION NO.
                                                  )   2:14-CV-00390-SLB
                                                  )
                        Plaintiffs,               )
                                                  )
v.                                                )

DRIVE-IN OF EVANSVILLE, INC., d/b/a
SONIC DRIVE-IN,

                        Defendant.

                      REPORT OF PARTIES' PLANNING MEETING
         1.      Appearances: Pursuant to Fed. R. Civ. P. 26(f) and Local Rule 26.1,

a meeting of the parties' representatives was held on June 10, 2014, and was

conducted by:

                 a.     Appearing on behalf of Plaintiffs: Courtney L. Calhoun.

                 b.     Appearing on behalf of Defendant: Amy K. Jordan.

         2.      Initial Disclosures: The parties will exchange by July 9, 2014, the

information required by Fed. R. Civ. P. 26(a)(1).



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         3.      Synopsis of case:

         Plaintiffs' Position: Plaintiffs assert claims under the Fair Labor Standards

Act, 29 U.S.C. § 201 et seq. ("FLSA") for wrongfully withheld wages and

overtime compensation. The Defendant violated and continues to violate the FLSA

by: (1) requiring the plaintiffs and other employees to routinely work off-the-clock

and refusing to pay them for their work performed off-the-clock; (2) refusing to

pay them overtime compensation for the hours they worked in excess of 40 hours

per workweek; (3) inflating the amount of tips received by the carhop

crewmembers to avoid paying them minimum wage; and, (4) incorrectly

classifying the general managers as exempt to avoid paying them overtime

compensation.

         Defendant's Position:       Plaintiffs' Fair Labor Standards Act ("FLSA")

claims for unpaid wages, minimum wage and overtime violations lack merit

because, during their employment with Defendant, Plaintiffs were properly paid

for all hours worked, at a rate at or above the minimum wage, and were paid for

any and all overtime compensation due throughout the relevant time period. The

Plaintiffs are not similarly situated to the extraordinarily broad class of individuals

whom they seek to represent.           Defendant incorporates by reference into this

paragraph its other affirmative defenses to Plaintiffs' complaint, as set forth in its

answer.


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         4.      Discovery Plan:

         a.      Without waiver of objections, discovery will be needed on the

following subjects:       Plaintiffs' claims and all other allegations in Plaintiffs'

complaint and matters incidental thereto; Defendant's defenses and matters

incidental thereto; Plaintiffs' damages, defenses thereto, and mitigation thereof.

                 b.    All discovery will be commenced in time to be completed by

February 6, 2015.        In the event that Plaintiffs file a motion for conditional

collective action certification or court-approved notice that is granted by the Court,

the parties request the opportunity to submit a new proposed scheduling and

discovery plan within fourteen (14) days of the Court's order.

                 c.    A maximum of thirty (30) interrogatories, including subparts,

by each party to any other party.

                 d.    A maximum of thirty (30) requests for production, including

subparts, by each party to any other party.

                 e.    A maximum of thirty (30) requests for admission, including

sub-parts, by each party to any other party.

                 f.    A party may take the deposition of any other party. In addition

to party depositions, a maximum of five (5) depositions may be taken by each

party, excluding any experts, subject to paragraph b. above. Each deposition is

limited to a maximum of seven hours excluding any breaks unless otherwise


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agreed by the parties or ordered by the Court.

                  g.   Reports from retained experts under Rule 26(a)(2) are due from

the Plaintiffs by ninety (90) days prior to the close of discovery and from the

Defendant by sixty (60) days prior to the close of discovery. If Plaintiffs intend to

use expert testimony in support of their motion for conditional collective action

certification, Plaintiffs will provide expert reports by August 12, 2014.

                  h.   Supplementation under 26(e) will be due in accordance with the

provisions of Fed. R. Civ. P. 26(e) and Local Rule 26.1.

         5.       Other Items:

                  a.   The parties do not request a conference with the Court before

entry of the initial scheduling order.

                  b.   The parties request a pretrial conference forty-five (45) days

prior to trial.

                  c.   Amendment of Pleadings/Joinder of Additional Parties:

                       (1)   Plaintiffs should be allowed until September 19, 2014, to

file a motion for conditional collective action certification or to facilitate court-

approved notice to the potential collective action class. Absent the Court's granting

of this motion, Plaintiffs should not be allowed to add additional parties or amend

the pleadings after September 19, 2014. Should the Court grant Plaintiffs' motion,

the parties request the opportunity to submit a new proposed scheduling and


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discovery plan within fourteen (14) days of the Court's order.

                       (2)    Defendant should be allowed until October 17, 2014, to

join additional parties and to amend the pleadings.

                 d.    All potentially dispositive motions should be filed thirty (30)

days following the end of discovery.

                 e.    Settlement cannot be evaluated until completion of initial

discovery.

                 f.    At this time the parties do not anticipate that the Alternative

Dispute Resolution Plan will be used in this civil action.

                 g.    Final lists of witnesses and exhibits under Rule 26(a)(3) will be

due from Plaintiffs thirty (30) days before trial and from Defendant thirty (30) days

before trial, or on a date determined by the Court. The parties will have fourteen

(14) days after service of final lists of witnesses and exhibits, or such date as

determined by the Court, to list objections under Rule 26(a)(3).

                 h.    At this time the trial of this matter is expected to take four (4)

days. The parties request that the Court set the trial date after resolution of the

class certification issues.

         6.      Electronic Information

                 a.    Preservation of Electronic Information: The parties will take

reasonable measures to preserve relevant electronic information. Defendant will


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endeavor to preserve any electronic information, to the extent that it exists, related

to the individuals named in Plaintiffs' complaint.         Other information will be

preserved in accordance with the Defendant's document retention policies.

                 b.    Form of Production of Electronic Information: To the extent

that it exists, the parties will produce relevant, non-privileged, electronic

information in paper or .pdf format, or in a format mutually agreed upon by the

parties as necessary.

                 c.    Production of Privileged Materials: If, after production, a party

contends that privileged materials have been produced, that the effected party shall

notify opposing counsel as soon as practicable, identifying those items the party

contends are privileged and that the parties shall thereafter meet and discuss any

such matters and documents. In the event the parties are unable to reach an

agreement as to the applicability of the privilege, the party claiming the privilege

shall submit the issue to the Court within seven (7) days of the parties meeting.

                                                 /s/ Courtney L. Calhoun___________
                                                 Lee D. Winston
                                                 Roderick T. Cooks
                                                 Courtney L. Calhoun
                                                 Attorneys for Plaintiffs
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                                               /s/ Amy K. Jordan______________
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                                               Ronald W. Flowers, Jr. (FLOWR3653)
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